     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 1 of 43




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12   Attorneys for Plaintiffs Sharp Electronics Corporation and
     Sharp Electronics Manufacturing Company of America, Inc.
13
     [additional counsel listed on signature page]
14
                                 UNITED STATES DISTRICT COURT
15                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
16
     In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Master File No. 3:07-cv-5944 SC
17   LITIGATION                                                 MDL No. 1917
18   This Document Relates To:                                  [PROPOSED] ORDER GRANTING
                                                                DIRECT ACTION PLAINTIFFS’
19   Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   MOTION TO ISSUE A LETTER OF
     No. 13-cv-1173;                                            REQUEST FOR INTERNATIONAL
20                                                              JUDICIAL ASSISTANCE TO TAKE
     Electrograph Systems, Inc. et al. v. Technicolor SA,       DEPOSITIONS IN FRANCE
21   et al., No. 13-cv-05724;
22   Siegel v. Technicolor SA, et al., No. 13-cv-05261;
23   Best Buy Co., Inc., et al. v. Technicolor SA, et al.,
     No. 13-cv-05264;
24
     Target Corp. v. Technicolor SA, et al., No. 13-cv-
25   05686;
26   Interbond Corporation of America v. Technicolor
     SA, et al., No. 13-cv-05727;
27
     Office Depot, Inc. v. Technicolor SA, et al., No. 13-
28   cv-05726;

                   [PROPOSED] ORDER GRANTING MOTION FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 2 of 43




1    Costco Wholesale Corporation v. Technicolor SA, et
     al., No. 13-cv-05723;
2
     P.C. Richard & Son Long Island Corporation, et al.
3    v. Technicolor SA, et al., No. 13-cv-05725;
4    Schultze Agency Services, LLC v. Technicolor SA,
     Ltd., et al., No. 13-cv-05668;
5
     Sears, Roebuck and Co. and Kmart Corp. v.
6    Technicolor SA, No. 3:13-cv-05262;
7    Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
     13-cv-00157;
8
     Crago, et al. v. Mitsubishi Electric Corp., No. 14-cv-
9    2058;
10   Viewsonic Corp. v. Chunghwa Picture Tubes, Ltd.,
     et al., No. 14-cv-2510.
11

12

13                  Upon consideration of Direct Action Plaintiffs’ Motion, under Civil Local Rule
14   7-11, for an Order to Issue a Letter of Request for International Judicial Assistance to Take
15   Depositions in France pursuant to the Hague Convention of 18 March 1970 on the Taking of
16   Evidence Abroad in Civil or Commercial Matters, it is hereby:
17                  ORDERED that the Plaintiffs’ Motion is hereby GRANTED; and it is further
18                  ORDERED that the Letter of Request, attached to this Order, shall be executed
19   and issued out of this Court under this Court’s seal to the Central Authority of France requesting
20   the deposition testimony of Emeric Charamel, Christian Lissorgues, Agnes Martin, and Didier
21   Trutt, as set forth in that Letter of Request and its accompanying Deposition Notices and
22   Subpoenas.
23

24   IT IS SO ORDERED.
25

26   Dated: __________
                                                           HON. SAMUEL CONTI
27                                                    UNITED STATES DISTRICT JUDGE
28
                                                     -2-
                   [PROPOSED] ORDER GRANTING MOTION FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
   Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 3 of 43




 ATTACHMENT TO [PROPOSED] ORDER GRANTING
 DIRECT ACTION PLAINTIFFS’ MOTION TO ISSUE A
LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL
  ASSISTANCE TO TAKE DEPOSITIONS IN FRANCE:


               LETTER OF REQUEST TO THE
            COMPETENT AUTHORITY FOR FRANCE


           AMENDED NOTICES OF DEPOSITION AND
              DEPOSITION SUBPOENAS FOR:

                     EMERIC CHARAMEL
                    CHRISTIAN LISSORGUES
                       AGNES MARTIN
                       DIDIER TRUTT
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 4 of 43




1                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
2                                   SAN FRANCISCO DIVISION
3    In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Master File No. 3:07-cv-5944 SC
     LITIGATION                                                 MDL No. 1917
4
     This Document Relates To:                                  LETTER OF REQUEST TO THE
5                                                               COMPETENT AUTHORITY FOR
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   FRANCE
6    No. 13-cv-1173;
                                                                LETTER OF REQUEST FOR
7    Electrograph Systems, Inc. et al. v. Technicolor SA,       INTERNATIONAL JUDICIAL
     et al., No. 13-cv-05724;                                   ASSISTANCE PURSUANT TO THE
8                                                               HAGUE CONVENTION OF 18
     Siegel v. Technicolor SA, et al., No. 13-cv-05261;         MARCH 1970 ON THE TAKING OF
9                                                               EVIDENCE ABROAD IN CIVIL OR
     Best Buy Co., Inc., et al. v. Technicolor SA, et al.,      CRIMINAL MATTERS
10   No. 13-cv-05264;
11   Target Corp. v. Technicolor SA, et al., No. 13-cv-
     05686;
12
     Interbond Corporation of America v. Technicolor
13   SA, et al., No. 13-cv-05727;
14   Office Depot, Inc. v. Technicolor SA, et al., No. 13-
     cv-05726;
15
     Costco Wholesale Corporation v. Technicolor SA, et
16   al., No. 13-cv-05723;
17   P.C. Richard & Son Long Island Corporation, et al.
     v. Technicolor SA, et al., No. 13-cv-05725;
18
     Schultze Agency Services, LLC v. Technicolor SA,
19   Ltd., et al., No. 13-cv-05668;
20   Sears, Roebuck and Co. and Kmart Corp. v.
     Technicolor SA, No. 3:13-cv-05262;
21
     Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
22   13-cv-00157;
23   Crago, et al. v. Mitsubishi Electric Corp., No. 14-cv-
     2058;
24
     Viewsonic Corp. v. Chunghwa Picture Tubes, Ltd.,
25   et al., No. 14-cv-2510.
26

27

28

       LETTER OF REQUEST TO THE COMPETENT AUTHORITY FOR FRANCE FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 5 of 43




1    TO:            Ministère de la Justice
                    Direction des Affaires Civiles et du Sceau
2                   Bureau de l’entraide civile et commercial international
                    (D3)
3                   13, Place Vendôme
                    75042 Paris Cedex 01
4
     FROM:          The U.S. District Court for the Northern District of California
5
                    The U.S. District Court for the Northern District of California presents its
6
     complements to the French Central Authority, or other office as is appropriate, and requests
7
     international judicial assistance to obtain evidence to be used in a civil action pending before the
8
     Northern District of California entitled In re Cathode Ray Tube (CRT) Antitrust Litigation,
9
     Master File No. 3:07-cv-5944 SC, MDL No. 1917 (the “Action”). It has been demonstrated to us
10
     that justice cannot completely be done amongst the parties without the testimony of the witnesses
11
     listed in section nine (9) below, who reside in France within your jurisdiction. In conformity
12
     with Article 3 of the Hague Convention of 18 March 1970 on the Taking of Evidence Abroad in
13
     Civil or Commercial Matters (“the Hague Convention”), the undersigned applicant has the honor
14
     to submit the following request.
15
     1. Sender                                     United States District Court for the Northern
16                                                 District of California
                                                   San Francisco Division
17                                                 450 Golden Gate Avenue
                                                   San Francisco, C.A. 94102
18                                                 U.S.A.
19   2. Central Authority of the Requested         Ministère de la Justice
        State                                      Direction des Affaires Civiles et du Sceau
20                                                 Bureau de l’entraide civile et commercial
                                                   international
21                                                 (D3)
                                                   13, Place Vendôme
22                                                 75042 Paris Cedex 01
                                                   France
23
     3. Person to whom the executed request        Craig A. Benson
24      is to be returned                          Paul, Weiss, Rifkind, Wharton & Garrison LLP
                                                   2001 K Street, N.W.
25                                                 Washington, D.C. 20006
                                                   U.S.A.
26

27

28
                                                     -2-
       LETTER OF REQUEST TO THE COMPETENT AUTHORITY FOR FRANCE FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 6 of 43




1    4. Reason for urgency                       The urgency in seeking the testimony of former
                                                 Thomson SA employees Emeric Charamel,
2                                                Christian Lissorgues, Agnes Martin, and Didier
                                                 Trutt, is due to the upcoming trial date of March 9,
3                                                2015, pursuant to the Court’s scheduling order.
                                                 Emeric Charamel was the General Manager for
4                                                Thomson SA’s European Sales and then the
                                                 General Manager for Europe Sales & Marketing at
5                                                Videocon. Christian Lissorgues was Vice President
                                                 for Marketing and Sales at Thomson SA. Agnes
6                                                Martin was Thomson SA’s Marketing
                                                 Communications Manager. Didier Trutt was
7                                                Senior Executive Vice President of Thomson SA
                                                 and also held a seat on Videocon’s Executive
8                                                Board. The European Commission fined Thomson
                                                 SA’s successor corporation, Technicolor SA, €
9                                                38,631,000 for its role in a global CPT conspiracy
                                                 between March 1999 and September 2005. As
10                                               stated in the European Commission’s summary of
                                                 its decision, there were multilateral and bilateral
11                                               meetings among CPT competitors in Europe
                                                 relating to this cartel; these meetings involved the
12                                               exchange of competitively sensitive, non-public
                                                 information as well as collusive activities involving
13                                               price and potentially market share and output; and,
                                                 these meetings began to occur in a more organized
14                                               fashion in Europe sometime around 1999. See
                                                 Summary of Commission Decision of 5 December
15                                               2012 relating to a proceeding under Article 101 on
                                                 the Treaty of the Functioning of the European
16                                               Union and Article 53 of the EEA Agreement (Case
                                                 Comp./39.437 – TV and computer monitor tubes),
17                                               available at http://eur-
                                                 lex.europa.eu/LexUriServ/LexUriServ.do
18                                               ?uri=OJ:C:2013:303:0013:0016:EN:PDF.
19                                               Testimony from these four former Thomson SA
                                                 employees concerning documents evidencing
20                                               conspiracy-related communications and/or
                                                 meetings between Thomson SA and other CRT
21                                               manufacturers bear directly on Thomson SA’s
                                                 liability for the antitrust harm to Plaintiffs caused
22                                               by the conspiracy. Additionally, testimony
                                                 concerning Thomson SA’s relationship with
23                                               Thomson Consumer will be important in
                                                 demonstrating Thomson SA’s contacts with the
24                                               United States and its control over the finances,
                                                 policies, and/or affairs of Thomson Consumer,
25                                               which is particularly important in light of the fact
                                                 that Thomson has produced relatively little
26                                               evidence compared to other defendants. Plaintiffs
                                                 also seek to obtain and review the testimony of
27                                               these former Thomson SA employees in a
                                                 sufficiently expedited fashion to determine if any
28                                               follow-up depositions of other witnesses need be
                                                   -3-
       LETTER OF REQUEST TO THE COMPETENT AUTHORITY FOR FRANCE FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 7 of 43



                                                 taken, and still have the time to notice and take any
1                                                such depositions.
2    5. a. Requesting judicial authority         United States District Court for the Northern
                                                 District of California
3                                                San Francisco Division
                                                 450 Golden Gate Avenue
4                                                San Francisco, C.A. 94102
                                                 U.S.A.
5
        b. To the competent authority            France
6
        c. Names of the case and any             In re Cathode Ray Tube (CRT) Antitrust Litigation,
7          identifying number                    Case No. 3:07-cv-05944-SC, MDL No. 1917 (N.D.
                                                 Cal.)
8
     6. Names and addresses of the parties
9       and their representatives:
10      a. Plaintiffs’ Representatives           Counsel for Sharp Plaintiffs
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18
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                                                 Cori G. Moore
20                                               Eric J. Weiss
                                                 Nicholas H. Hesterberg
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23                                               Telephone: (206) 359-8000
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27                                               Liaison Counsel for Direct Action Plaintiffs and
                                                 Counsel for Electrograph, Office Depot,
28                                               Interbond, P.C. Richard & Son, MARTA, ABC
                                                   -4-
       LETTER OF REQUEST TO THE COMPETENT AUTHORITY FOR FRANCE FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 8 of 43



                                                 Appliance, Schultze Agency Services, and Tech
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                                                 Counsel for Best Buy Plaintiffs
16                                               Roman M. Silberfeld
                                                 David Martinez
17                                               Jill Casselman
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                                                 Telephone: (310) 552-0130
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21                                               K. Craig Wildfang
                                                 Laura E. Nelson
22                                               ROBINS, KAPLAN, MILLER & CIRESI
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25
                                                 Counsel for Circuit City Plaintiffs
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                                                 Kenneth S. Marks
27                                               Jonathan J. Ross
                                                 Johnny W. Carter
28                                               David M. Peterson
                                                   -5-
       LETTER OF REQUEST TO THE COMPETENT AUTHORITY FOR FRANCE FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 9 of 43



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7
                                                 Counsel for Target Plaintiffs
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10                                               Telephone: (213) 443-5582
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                                                 Counsel for Viewsonic Corporation
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                                                 Counsel for Sears, Roebuck and Kmart
22                                               Plaintiffs
                                                 Richard Alan Arnold
23                                               William J. Blechman
                                                 Kevin J. Murray
24                                               KENNY NACHWALTER, P.A.
                                                 201 S. Biscayne Blvd., Suite 1100
25                                               Miami, FL 33131
                                                 Tel: 305-373-1000
26

27      b. Defendant’s Representatives           Counsel for Defendant Thomson SA
                                                 Kathy L. Osborn
28                                               Ryan M. Hurley
                                                  -6-
       LETTER OF REQUEST TO THE COMPETENT AUTHORITY FOR FRANCE FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 10 of 43



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6
                                                  Stephen M. Judge
7                                                 Faegre Baker Daniels LLP
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8                                                 South Bend, IN 46601
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9                                                 Calvin L. Litsey
                                                  Faegre Baker Daniels LLP
10                                                1950 University Avenue, Suite 450
                                                  East Palo Alto, CA 94303-2279
11                                                Telephone: (650) 324-6700
12       c. Defendant                             Defendant Thomson SA (n/k/a Technicolor SA)
                                                  1-5 Rue Jeanne d’Arc
13                                                92130 Issy-les-Moulineaux
                                                  France
14
      7. a. Nature of the proceedings             This is a case in the United States District Court for
15                                                the Northern District of California based on
                                                  complaints filed in separate actions by the
16                                                following Plaintiffs: Electrograph Systems, Inc.;
                                                  Electrograph Technologies, Corp.; Alfred H. Siegel
17                                                (as trustee of the Circuit City Stores, Inc.
                                                  Liquidating Trust); Best Buy Co., Inc.; Best Buy
18                                                Purchasing LLC; Best Buy Enterprise Services,
                                                  Inc.; Best Buy Stores, L.P.; BestBuy.com, L.L.C.;
19                                                Magnolia Hi-Fi, Inc.; Interbond Corporation of
                                                  America; Office Depot, Inc.; Costco Wholesale
20                                                Corporation; P.C. Richard & Son Long Island
                                                  Corporation; ABC Appliance, Inc.; MARTA
21                                                Cooperative of America, Inc.; Schultze Agency
                                                  Services, LLC (on behalf of Tweeter Opco, LLC,
22                                                and Tweeter Newco, LLC); Sears Roebuck and Co.
                                                  and Kmart Corp.; Target Corp.; Sharp Electronics
23                                                Corporation and Sharp Electronics Manufacturing
                                                  Company of America, Inc., (collectively, “Sharp”);
24                                                Tech Data Corporation and Tech Data Product
                                                  Management, Inc. (collectively, “Tech Data”);
25                                                Crago, d/b/a Dash Computers, Inc.; Arch
                                                  Electronics, Inc.; Meijer, Inc.; Meijer Distribution,
26                                                Inc.; Nathan Muchnick, Inc.; Princeton Display
                                                  Technologies, Inc.; Radio & TV Equipment, Inc.;
27                                                Studio Spectrum, Inc.; Wettstein & Sons, Inc.,
                                                  d/b/a Wettstein’s; and Viewsonic Corporation.
28                                                Each of these complaints asserts claims for
                                                    -7-
        LETTER OF REQUEST TO THE COMPETENT AUTHORITY FOR FRANCE FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                 MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 11 of 43



                                                 damages and injunctive relief under the antitrust
1                                                laws of the United States and under the antitrust
                                                 and fair competition laws of California and New
2                                                York.
3        b. Summary of complaint                 Plaintiffs brought these actions for damages and
                                                 injunctive relief under the antitrust laws of the
4                                                United States to recover on account of the antitrust
                                                 injuries they suffered as a result of a long-running
5                                                conspiracy by suppliers of cathode ray tubes
                                                 (“CRTs”) to coordinate and fix the prices of CRTs
6                                                and exchange detailed competitive information.
                                                 The complaints allege that Thomson SA, other
7                                                defendants, and co-conspirators formed an
                                                 international cartel that conducted a long-running
8                                                conspiracy extending at a minimum from March 1,
                                                 1995, through at least December 2007. The
9                                                purpose and effect of this conspiracy was to fix,
                                                 raise, stabilize, and maintain prices for CRTs.
10                                               Plaintiffs allege that Thomson SA participated in
                                                 this conspiracy with at least the following
11                                               companies: Hitachi, LG Electronics, LG Philips
                                                 Displays, Panasonic, MTPD, BMCC, Samsung
12                                               SDI, Toshiba, Philips, Orion, Videocon, and
                                                 Mitsubishi. Plaintiffs’ allegations are closely
13                                               similar to those that appear in the European
                                                 Commission decision imposing € 1,470,515,000 in
14                                               penalties against the following aforementioned
                                                 defendants: LG Electronics, Philips, Samsung SDI,
15                                               Panasonic, Toshiba, MTPD, and Technicolor
                                                 (formerly Thomson). See Press Release,
16                                               Commission fines producers of TV and computer
                                                 monitor tubes € 1.47 billion for two decade-long
17                                               cartels (Dec. 5, 2012), available at
                                                 http://europa.eu/rapid/press-release_IP-12-
18                                               1317_en.htm.
19       c. Other necessary information          On March 15, 2013, Sharp filed a complaint
                                                 naming Thomson SA as a Defendant, and on April
20                                               2, 2014, a Second Amended Complaint also
                                                 naming Thomson SA as a Defendant. The other
21                                               aforementioned Plaintiffs have also filed
                                                 complaints or amended complaints, which are now
22                                               pending in this multidistrict litigation. The parties
                                                 have also agreed to a joint stipulation whereby fact
23                                               discovery shall be completed by September 5,
                                                 2014.
24
                                                 On August 8, 2014, Direct Action Plaintiffs served
25                                               notices of deposition, pursuant to Federal Rule of
                                                 Civil Procedure 30, of the following former
26                                               Thomson SA employees who reside in France:
                                                 Emeric Charamel, Christian Lissorgues, Agnes
27                                               Martin and Didier Trutt. As further explained in
                                                 Section 8, below, these individuals have been
28                                               identified by Plaintiffs as having specific
                                                   -8-
       LETTER OF REQUEST TO THE COMPETENT AUTHORITY FOR FRANCE FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 12 of 43



                                                  knowledge relevant to this case.
1
                                                  Thomson SA objected to the aforementioned
2                                                 deposition notices on grounds that it intends to
                                                  represent Mr. Charamel, Ms. Martin, and Mr. Trutt.
3                                                 See Letter from K. Osborn to C. Benson and G.
                                                  Saveri re: In re: CRT Antitrust Litigation, 3:07-cv-
4                                                 5944-SC MDL No. 1917 (N.D. Cal.) (dated August
                                                  12, 2014). Further, Thomson SA stated that “any
5                                                 depositions of these individuals must follow Hague
                                                  Convention procedures.” See id.
6
      8. a. Evidence to be obtained or other      It is respectfully requested that a judicial authority
7           judicial act to be performed          of France compel the third parties listed in Section
                                                  9, below, to make themselves available to answer
8                                                 deposition questions concerning the facts of the
                                                  case. All four individuals have been identified by
9                                                 Plaintiffs as having specific knowledge relevant to
                                                  this case. Documents produced by Thomson
10                                                Consumer, which were included in Thomson’s
                                                  submission to the U.S. Department of Justice in
11                                                connection with the CRT investigation, reflect that
                                                  each of the four individuals was involved in
12                                                meetings and communications associated with the
                                                  CRT conspiracy. Emeric Charamel was the
13                                                General Manager for Thomson SA’s European
                                                  Sales and then the General Manager for Europe
14                                                Sales & Marketing at Videocon. Christian
                                                  Lissorgues was Vice President for Marketing and
15                                                Sales at Thomson SA. Agnes Martin was Thomson
                                                  SA’s Marketing Communications Manager. Didier
16                                                Trutt was Senior Executive Vice President of
                                                  Thomson SA and also held a seat on Videocon’s
17                                                Executive Board.
18       b. Purpose of the evidence or            Testimony from these witnesses will provide
            judicial act sought                   important information in support of DAPs’ claims.
19                                                The European Commission fined Thomson SA’s
                                                  successor corporation, Technicolor SA, €
20                                                38,631,000 for its role in a global CPT conspiracy
                                                  between March 1999 and September 2005. As
21                                                stated in the European Commission’s summary of
                                                  its decision, there were multilateral and bilateral
22                                                meetings among CPT competitors in Europe
                                                  relating to this cartel; these meetings involved the
23                                                exchange of competitively sensitive, non-public
                                                  information as well as collusive activities involving
24                                                price and potentially market share and output; and,
                                                  these meetings began to occur in a more organized
25                                                fashion in Europe sometime around 1999. See
                                                  Summary of Commission Decision of 5 December
26                                                2012 relating to a proceeding under Article 101 on
                                                  the Treaty of the Functioning of the European
27                                                Union and Article 53 of the EEA Agreement (Case
                                                  Comp./39.437 – TV and computer monitor tubes),
28                                                available at http://eur-
                                                     -9-
        LETTER OF REQUEST TO THE COMPETENT AUTHORITY FOR FRANCE FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                 MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 13 of 43



                                                  lex.europa.eu/LexUriServ/LexUriServ.do?uri=OJ:C
1                                                 :2013:303:0013:0016:EN:PDF.
2                                                 Testimony from these four former employees
                                                  concerning documents evidencing conspiracy-
3                                                 related communications and/or meetings between
                                                  Thomson SA and other CRT manufacturers bear
4                                                 directly on Thomson SA’s liability for the antitrust
                                                  harm to Plaintiffs caused by the conspiracy.
5                                                 Additionally, testimony concerning Thomson SA’s
                                                  relationship with Thomson Consumer will be
6                                                 important in demonstrating Thomson SA’s contacts
                                                  with the United States and its control over the
7                                                 finances, policies, and/or affairs of Thomson
                                                  Consumer, which is particularly important in light
8                                                 of the fact that Thomson has produced relatively
                                                  little evidence compared to other defendants.
9
      9. Identity and address of any person to    Mr. Emeric Charamel
10       be examined                              Address 1 c/o Royal Sovereign
                                                            Les Perrots 71220
11                                                          Saint-Martin-de-Salencey
                                                            France
12
                                                  Address 2 11 rue Lacepède
13                                                          75005 Paris, France
14                                                Tel.        00 33 (0)970 460 666
15                                                Mr. Christian Lissorgues
                                                  Address 1 11 Boulevard Montmartre
16                                                           75002 Paris, France
17                                                Address 2 Route de Villefranche
                                                            Chateau D’Artix
18                                                          Cahors, 46000
                                                            France
19
                                                  Ms. Agnes Martin
20                                                Address   c/o Imprimerie Nationale
                                                            104 avenue du Président Kennedy
21                                                          75016 Paris, France
22                                                Tel.         00 33 (0) 1 40 58 30 00
23                                                Mr. Didier Trutt
                                                  Address 1 c/o Imprimerie Nationale
24                                                           58 Boulevard Gouvion St Cyr
                                                             75858 Paris, France
25
                                                  Address 2 85 Boulevard Saint-Michel
26                                                          75005 Paris, France
27    10. Any requirement that the evidence be    It is respectfully requested that an examiner or
          given on an oath or affirmation and     other appropriate judicial officer of France direct
28        any specific form to be used            that the witnesses be duly sworn in accordance with
                                                    - 10 -
        LETTER OF REQUEST TO THE COMPETENT AUTHORITY FOR FRANCE FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                 MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 14 of 43



                                                   the applicable procedures in France, and that the
1                                                  testimony be taken and transcribed by a qualified
                                                   court reporter and videographer chosen by
2                                                  Plaintiffs’ representatives. Plaintiffs reserve the
                                                   right to use the videotape deposition at the time of
3                                                  trial.
4                                                  In the alternative, the witnesses should be informed
                                                   of the consequences for giving untruthful answers
5                                                  under French law.
6                                                  It is further requested that the transcription of the
                                                   depositions be in the English language if allowable
7                                                  under the local law.
8     11. Special methods or procedure to be       With regard to the depositions, it is requested that:
          followed                                 (a) the examination be conducted orally; (b)
9                                                  designees of the parties’ representatives,
                                                   interpreters, and a stenographer be permitted to be
10                                                 present during the examination; (c) all persons
                                                   other than the judicial officer conducting the
11                                                 examination, the attorneys for the parties, the
                                                   stenographer, interpreters, and other officials of the
12                                                 French court normally present during such
                                                   proceedings be excluded from the examination if
13                                                 such exclusion is permitted under French law; (d) a
                                                   stenographer be permitted to record the
14                                                 examination verbatim; (e) the stenographer be
                                                   permitted to record the examinations by
15                                                 audiovisual means; (f) designees of the parties’
                                                   representatives be permitted to ask questions of the
16                                                 witness as soon as possible; and (g) the deposition
                                                   continue from day to day (including weekends)
17                                                 until recessed or completed.
18                                                 Plaintiffs shall apportion the time to examine each
                                                   witness in accordance with any agreements among
19                                                 themselves or otherwise as they may be directed to
                                                   do so by the court or by the authorities in France.
20                                                 Defendants may wish to conduct cross-examination
                                                   in accordance with the discovery protocol of the
21                                                 court or as otherwise determined by the relevant
                                                   authorities in France.
22
      12. Request for notification of the time     Please notify the attorneys representing the
23        and place for execution of the Request   aforementioned Plaintiffs and Defendant Thomson
          and identity and address of any          SA as identified in paragraphs 6(a) and (b) above,
24        person to be notified                    of the date, time, and place of execution of the
                                                   request.
25
      13. The fees and costs incurred which are    Plaintiffs express a willingness to reimburse the
26        reimbursable under the second            judicial authorities of the Republic of France for
          paragraph of Article 14 or under         costs incurred in executing the requesting court’s
27        Article 26 of the Convention will be     letter of request.
          borne by
28
                                                    - 11 -
        LETTER OF REQUEST TO THE COMPETENT AUTHORITY FOR FRANCE FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                 MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 15 of 43




1     Date of request:                       __________

2     Signature and seal of the
      requesting authority:
3
                                             United States District Judge
4                                            United States District Court for the Northern District of
                                             California
5                                            San Francisco Division
                                             450 Golden Gate Avenue
6                                            San Francisco, CA 94102
                                             U.S.A.
7
      I hereby certify that the signature above is that of the
8
      Honorable _______________________________,
9
      United States District Judge of the United States District Court for the Northern District of
10    California

11

12    Clerk of the Court

13
      By:
14
      Deputy Clerk:
15
      Seal:
16

17

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                                                      - 12 -
        LETTER OF REQUEST TO THE COMPETENT AUTHORITY FOR FRANCE FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                 MASTER FILE NO. 3:07-CV-5944 SC, MDL NO. 1917
Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 16 of 43




ATTACHMENT: AMENDED DEPOSITION NOTICE
AND SUBPOENA TO APPEAR AND TESTIFY AT A
 HEARING OR TRIAL IN A CIVIL ACTION FOR:

                  EMERIC CHARAMEL
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 17 of 43



1     Kenneth A. Gallo (pro hac vice)
      Joseph J. Simons (pro hac vice)
2     Craig A. Benson (pro hac vice)
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6     cbenson@paulweiss.com
7     Stephen E. Taylor (SBN 058452)
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      Email: staylor@tcolaw.com
11    Email: jpatchen@tcolaw.com
12
      Attorneys for Plaintiffs Sharp Electronics Corporation
13    and Sharp Electronics Manufacturing Company of
      America, Inc.
14
      [Additional Counsel Listed on Signature Page]
15
                                  UNITED STATES DISTRICT COURT
16
                              NORTHERN DISTRICT OF CALIFORNIA
17

18                                    SAN FRANCISCO DIVISION

19
                                                           Case No. 07-cv-05944 SC
20    In re: CATHODE RAY TUBE (CRT)                        MDL No. 1917
      ANTITRUST LITIGATION                                 AMENDED DEPOSITION NOTICE
21
      This Document Relates to:                            OF EMERIC CHARAMEL
22    ALL ACTIONS
23

24

25

26

27

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      AMENDED DEPOSITION NOTICE OF EMERIC CHARAMEL
      Case No. 07-cv-05944 SC; MDL No. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 18 of 43




1                    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

2                    PLEASE TAKE NOTICE that, pursuant to Rules 28, 30 and 45 of the Federal

3     Rules of Civil Procedure, the Direct Action Plaintiffs and the Direct Purchaser Plaintiffs

4     (collectively “Plaintiffs”) will take the deposition of EMERIC CHARAMEL. The deposition

5     will occur at a date and time and location to be determined upon consultation with counsel for

6     Thomson SA. The deposition shall continue from day to day (including weekends) until

7     recessed or completed.

8                    The deposition will be taken before a notary public or other person authorized to

9     administer oaths under applicable law, and will be conducted pursuant to Rules 30 and 45 of the

10    Federal Rules of Civil Procedure. Plaintiffs intend and reserve the right to record the deposition

11    testimony of the above-identified deponent by videotape and instant visual display, in addition to

12    recording the testimony stenographically and by LiveNote/realtime. Plaintiffs reserve the right

13    to use the videotape deposition at time of trial.

14

15     Dated: August 28, 2014                   Respectfully Submitted,
16                                              /s/ Craig A. Benson
17
                                                Kenneth A. Gallo (pro hac vice)
18                                              Joseph J. Simons (pro hac vice)
                                                Craig A. Benson (pro hac vice)
19                                              PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
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22                                              kgallo@paulweiss.com
                                                jsimons@paulweiss.com
23                                              cbenson@paulweiss.com
24                                              Attorneys for Plaintiffs Sharp Electronics Corporation
25                                              and Sharp Electronics Manufacturing Company of
                                                America, Inc.
26
                                                Guido Saveri (22349)
27                                              R. Alexander Saveri (173102)
                                                Geoffrey C. Rushing (126910)
28
                                                Travis L. Manfredi (281779)
                                                   -2-
      AMENDED DEPOSITION NOTICE OF EMERIC CHARAMEL
      Case No. 07-cv-05944 SC; MDL No. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 19 of 43




1                                               SAVERI & SAVERI, INC.
                                                706 Sansome Street
2                                               San Francisco, CA 94111
3                                               Telephone: 415.217.6810
                                                Fax: 415.217.6813
4
                                                Interim Lead Counsel for the Direct Purchaser
5                                               Plaintiffs
6                                               Philip J. Iovieno
7                                               Anne M. Nardacci
                                                BOIES, SCHILLER & FLEXNER LLP
8                                               10 North Pearl Street, 4th Floor
                                                Albany, NY 12207
9                                               Telephone: (518) 434-0600
                                                Facsimile: (518) 434-0665
10                                              piovieno@bsfllp.com
11                                              anardacci@bsfllp.com
                                                Liaison Counsel for the Direct Action Plaintiffs
12

13
                                         E-FILING ATTESTATION
14
             I, Craig A. Benson, am the ECF user whose ID and password are being used to file the
15
      Amended Deposition Notice of Emeric Charamel. In compliance with Civil Local Rule 5-
16
      1(i)(3), I hereby attest that each listed counsel above has concurred in this filing.
17
      Dated: August 28, 2014                              /s/ Craig A. Benson
18
                                                            Craig A. Benson
19

20

21

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                                                   -3-
      AMENDED DEPOSITION NOTICE OF EMERIC CHARAMEL
      Case No. 07-cv-05944 SC; MDL No. 1917
                  Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 20 of 43
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________  DistrictofofCalifornia
                                                                                __________

          SHARP ELECTRONICS CORP., et al.                                      )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No. 07-cv-05944-SC, MDL No. 1917
                      HITACHI LTD., et al.                                     )
                              Defendant                                        )

                                              SUBPOENA TO APPEAR AND TESTIFY
                                           AT A HEARING OR TRIAL IN A CIVIL ACTION

To: EMERIC CHARAMEL

                                                       (Name of person to whom this subpoena is directed)

         YOU ARE COMMANDED to appear in the United States district court at the time, date, and place set forth below
to testify at a hearing or trial in this civil action. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.



Place: PLACE, DATE, AND TIME TO BE DETERMINED                                               Courtroom No.:
         UPON CONSULTATION WITH COUNSEL.
                                                                                            Date and Time:

          You must also bring with you the following documents, electronically stored information, or objects (leave blank if
not applicable):
                   THIS IS A SUBPOENA FOR ORAL EXAMINATION ONLY.




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                               OR


                                            Signature of Clerk or Deputy Clerk                               Attorney’s signature



The name, address, e-mail address, and telephone number of the attorney representing (name of party)                            SHARP
    ELECTRONICS CORPORATION, ET AL.                              , who issues or requests this subpoena, are:
CRAIG A. BENSON, PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP, 2001 K STREET NW, WASHINGTON,
DC 20006-1047; CBENSON@PAULWEISS.COM; 202-223-7300

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 21 of 43
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 2)

Civil Action No. 07-cv-05944-SC, MDL No. 1917

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                                 .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                            ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                               .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                  for travel and $                                 for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                       Server’s signature



                                                                                                     Printed name and title




                                                                                                        Server’s address

Additional information regarding attempted service, etc.:
                   Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 22 of 43
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where            until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 23 of 43




ATTACHMENT: AMENDED DEPOSITION NOTICE
AND SUBPOENA TO APPEAR AND TESTIFY AT A
 HEARING OR TRIAL IN A CIVIL ACTION FOR:

               CHRISTIAN LISSORGUES
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 24 of 43



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      Telephone: (415) 788-8200
10    Facsimile: (415) 788-8208
      Email: staylor@tcolaw.com
11    Email: jpatchen@tcolaw.com
12    Attorneys for Plaintiffs Sharp Electronics Corporation
      and Sharp Electronics Manufacturing Company of
13
      America, Inc.
14
      [Additional Counsel Listed on Signature Page]
15
                                  UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17

18                                     SAN FRANCISCO DIVISION

19
                                                           Case No. 07-cv-05944 SC
20    In re: CATHODE RAY TUBE (CRT)                        MDL No. 1917
      ANTITRUST LITIGATION                                 AMENDED DEPOSITION NOTICE
21
      This Document Relates to:                            OF CHRISTIAN LISSORGUES
22    ALL ACTIONS
23

24

25

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      AMENDED DEPOSITION NOTICE OF CHRISTIAN LISSORGUES
      Case No. 07-cv-05944 SC; MDL No. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 25 of 43




1                    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

2                    PLEASE TAKE NOTICE that, pursuant to Rules 28, 30 and 45 of the Federal

3     Rules of Civil Procedure, the Direct Action Plaintiffs and the Direct Purchaser Plaintiffs

4     (collectively “Plaintiffs”) will take the deposition of CHRISTIAN LISSORGUES. The

5     deposition will occur at a date and time and location to be determined upon consultation with

6     counsel for Thomson SA. The deposition shall continue from day to day (including weekends)

7     until recessed or completed.

8                    The deposition will be taken before a notary public or other person authorized to

9     administer oaths under applicable law, and will be conducted pursuant to Rules 30 and 45 of the

10    Federal Rules of Civil Procedure. Plaintiffs intend and reserve the right to record the deposition

11    testimony of the above-identified deponent by videotape and instant visual display, in addition to

12    recording the testimony stenographically and by LiveNote/realtime. Plaintiffs reserve the right

13    to use the videotape deposition at time of trial.

14

15     Dated: August 28, 2014                   Respectfully Submitted,
16                                              /s/ Craig A. Benson
17
                                                Kenneth A. Gallo (pro hac vice)
18                                              Joseph J. Simons (pro hac vice)
                                                Craig A. Benson (pro hac vice)
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25                                              and Sharp Electronics Manufacturing Company of
                                                America, Inc.
26
                                                Guido Saveri (22349)
27                                              R. Alexander Saveri (173102)
                                                Geoffrey C. Rushing (126910)
28
                                                Travis L. Manfredi (281779)
                                                   -2-
      AMENDED DEPOSITION NOTICE OF CHRISTIAN LISSORGUES
      Case No. 07-cv-05944 SC; MDL No. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 26 of 43




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4
                                                Interim Lead Counsel for the Direct Purchaser
5                                               Plaintiffs
6                                               Philip J. Iovieno
7                                               Anne M. Nardacci
                                                BOIES, SCHILLER & FLEXNER LLP
8                                               10 North Pearl Street, 4th Floor
                                                Albany, NY 12207
9                                               Telephone: (518) 434-0600
                                                Facsimile: (518) 434-0665
10                                              piovieno@bsfllp.com
11                                              anardacci@bsfllp.com
                                                Liaison Counsel for the Direct Action Plaintiffs
12

13                                       E-FILING ATTESTATION

14           I, Craig A. Benson, am the ECF user whose ID and password are being used to file the

15    Amended Deposition Notice of Christian Lissorgues. In compliance with Civil Local Rule 5-

16    1(i)(3), I hereby attest that each listed counsel above has concurred in this filing.

17    Dated: August 28, 2014                              /s/ Craig A. Benson
                                                            Craig A. Benson
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      AMENDED DEPOSITION NOTICE OF CHRISTIAN LISSORGUES
      Case No. 07-cv-05944 SC; MDL No. 1917
                  Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 27 of 43
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________  DistrictofofCalifornia
                                                                                __________

          SHARP ELECTRONICS CORP., et al.                                      )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No. 07-cv-05944-SC, MDL No. 1917
                      HITACHI LTD., et al.                                     )
                              Defendant                                        )

                                              SUBPOENA TO APPEAR AND TESTIFY
                                           AT A HEARING OR TRIAL IN A CIVIL ACTION

To: CHRISTIAN LISSORGUES

                                                       (Name of person to whom this subpoena is directed)

         YOU ARE COMMANDED to appear in the United States district court at the time, date, and place set forth below
to testify at a hearing or trial in this civil action. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.



Place: PLACE, DATE, AND TIME TO BE DETERMINED                                               Courtroom No.:
         UPON CONSULTATION WITH COUNSEL.
                                                                                            Date and Time:

          You must also bring with you the following documents, electronically stored information, or objects (leave blank if
not applicable):
                   THIS IS A SUBPOENA FOR ORAL EXAMINATION ONLY.




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                               OR


                                            Signature of Clerk or Deputy Clerk                               Attorney’s signature



The name, address, e-mail address, and telephone number of the attorney representing (name of party)                            SHARP
    ELECTRONICS CORPORATION, ET AL.                              , who issues or requests this subpoena, are:
CRAIG A. BENSON, PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP, 2001 K STREET NW, WASHINGTON,
DC 20006-1047; CBENSON@PAULWEISS.COM; 202-223-7300

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 28 of 43
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 2)

Civil Action No. 07-cv-05944-SC, MDL No. 1917

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                                 .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                            ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                               .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                  for travel and $                                 for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                       Server’s signature



                                                                                                     Printed name and title




                                                                                                        Server’s address

Additional information regarding attempted service, etc.:
                   Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 29 of 43
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where            until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 30 of 43




ATTACHMENT: AMENDED DEPOSITION NOTICE
AND SUBPOENA TO APPEAR AND TESTIFY AT A
 HEARING OR TRIAL IN A CIVIL ACTION FOR:

                      AGNES MARTIN
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 31 of 43



1     Kenneth A. Gallo (pro hac vice)
      Joseph J. Simons (pro hac vice)
2     Craig A. Benson (pro hac vice)
      PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
3     2001 K Street, NW
      Washington, DC 20006
4     Telephone: (202) 223-7300
      Facsimile: (202) 223-7420
5     kgallo@paulweiss.com
      jsimons@paulweiss.com
6     cbenson@paulweiss.com
7     Stephen E. Taylor (SBN 058452)
      Jonathan A. Patchen (SBN 237346)
8     TAYLOR & COMPANY LAW OFFICES, LLP
      One Ferry Building, Suite 355
9     San Francisco, California 94111
      Telephone: (415) 788-8200
10    Facsimile: (415) 788-8208
      Email: staylor@tcolaw.com
11    Email: jpatchen@tcolaw.com
12    Attorneys for Plaintiffs Sharp Electronics Corporation
      and Sharp Electronics Manufacturing Company of
13
      America, Inc.
14
      [Additional Counsel Listed on Signature Page]
15
                                  UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17

18                                    SAN FRANCISCO DIVISION

19
                                                           Case No. 07-cv-05944 SC
20    In re: CATHODE RAY TUBE (CRT)                        MDL No. 1917
      ANTITRUST LITIGATION                                 AMENDED DEPOSITION NOTICE
21
      This Document Relates to:                            OF AGNES MARTIN
22    ALL ACTIONS
23

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      AMENDED DEPOSITION NOTICE OF AGNES MARTIN
      Case No. 07-cv-05944 SC; MDL No. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 32 of 43




1                    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

2                    PLEASE TAKE NOTICE that, pursuant to Rules 28, 30 and 45 of the Federal

3     Rules of Civil Procedure, the Direct Action Plaintiffs and the Direct Purchaser Plaintiffs

4     (collectively “Plaintiffs”) will take the deposition of AGNES MARTIN. The deposition will

5     occur at a date and time and location to be determined upon consultation with counsel for

6     Thomson SA. The deposition shall continue from day to day (including weekends) until

7     recessed or completed.

8                    The deposition will be taken before a notary public or other person authorized to

9     administer oaths under applicable law, and will be conducted pursuant to Rules 30 and 45 of the

10    Federal Rules of Civil Procedure. Plaintiffs intend and reserve the right to record the deposition

11    testimony of the above-identified deponent by videotape and instant visual display, in addition to

12    recording the testimony stenographically and by LiveNote/realtime. Plaintiffs reserve the right

13    to use the videotape deposition at time of trial.

14

15     Dated: August 28, 2014                    Respectfully Submitted,
16                                               /s/ Craig A. Benson
17
                                                 Kenneth A. Gallo (pro hac vice)
18                                               Joseph J. Simons (pro hac vice)
                                                 Craig A. Benson (pro hac vice)
19                                               PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
                                                 2001 K Street, NW
20                                               Washington, DC 20006
21                                               Telephone: (202) 223-7300
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22                                               kgallo@paulweiss.com
                                                 jsimons@paulweiss.com
23                                               cbenson@paulweiss.com
24                                               Attorneys for Plaintiffs Sharp Electronics Corporation
25                                               and Sharp Electronics Manufacturing Company of
                                                 America, Inc.
26
                                                 Guido Saveri (22349)
27                                               R. Alexander Saveri (173102)
                                                 Geoffrey C. Rushing (126910)
28
                                                 Travis L. Manfredi (281779)
                                                   -2-
      AMENDED DEPOSITION NOTICE OFAGNES MARTIN
      Case No. 07-cv-05944 SC; MDL No. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 33 of 43




1                                                SAVERI & SAVERI, INC.
                                                 706 Sansome Street
2                                                San Francisco, CA 94111
3                                                Telephone: 415.217.6810
                                                 Fax: 415.217.6813
4
                                                 Interim Lead Counsel for the Direct Purchaser
5                                                Plaintiffs
6                                                Philip J. Iovieno
7                                                Anne M. Nardacci
                                                 BOIES, SCHILLER & FLEXNER LLP
8                                                10 North Pearl Street, 4th Floor
                                                 Albany, NY 12207
9                                                Telephone: (518) 434-0600
                                                 Facsimile: (518) 434-0665
10                                               piovieno@bsfllp.com
11                                               anardacci@bsfllp.com
                                                 Liaison Counsel for the Direct Action Plaintiffs
12

13
                                         E-FILING ATTESTATION
14
             I, Craig A. Benson, am the ECF user whose ID and password are being used to file the
15
      Amended Deposition Notice of Agnes Martin. In compliance with Civil Local Rule 5-1(i)(3), I
16
      hereby attest that each listed counsel above has concurred in this filing.
17
      Dated: August 28, 2014                              /s/ Craig A. Benson
18
                                                            Craig A. Benson
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      AMENDED DEPOSITION NOTICE OFAGNES MARTIN
      Case No. 07-cv-05944 SC; MDL No. 1917
                  Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 34 of 43
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________  DistrictofofCalifornia
                                                                                __________

          SHARP ELECTRONICS CORP., et al.                                      )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No. 07-cv-05944-SC, MDL No. 1917
                      HITACHI LTD., et al.                                     )
                              Defendant                                        )

                                              SUBPOENA TO APPEAR AND TESTIFY
                                           AT A HEARING OR TRIAL IN A CIVIL ACTION

To: AGNES MARTIN

                                                       (Name of person to whom this subpoena is directed)

         YOU ARE COMMANDED to appear in the United States district court at the time, date, and place set forth below
to testify at a hearing or trial in this civil action. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.



Place: PLACE, DATE, AND TIME TO BE DETERMINED                                               Courtroom No.:
         UPON CONSULTATION WITH COUNSEL.
                                                                                            Date and Time:

          You must also bring with you the following documents, electronically stored information, or objects (leave blank if
not applicable):
                   THIS IS A SUBPOENA FOR ORAL EXAMINATION ONLY.




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                               OR


                                            Signature of Clerk or Deputy Clerk                               Attorney’s signature



The name, address, e-mail address, and telephone number of the attorney representing (name of party)                            SHARP
    ELECTRONICS CORPORATION, ET AL.                              , who issues or requests this subpoena, are:
CRAIG A. BENSON, PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP, 2001 K STREET NW, WASHINGTON,
DC 20006-1047; CBENSON@PAULWEISS.COM; 202-223-7300

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 35 of 43
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 2)

Civil Action No. 07-cv-05944-SC, MDL No. 1917

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                                 .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                            ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                               .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                  for travel and $                                 for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                       Server’s signature



                                                                                                     Printed name and title




                                                                                                        Server’s address

Additional information regarding attempted service, etc.:
                   Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 36 of 43
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where            until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 37 of 43




ATTACHMENT: AMENDED DEPOSITION NOTICE
AND SUBPOENA TO APPEAR AND TESTIFY AT A
 HEARING OR TRIAL IN A CIVIL ACTION FOR:

                      DIDIER TRUTT
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 38 of 43



1     Kenneth A. Gallo (pro hac vice)
      Joseph J. Simons (pro hac vice)
2     Craig A. Benson (pro hac vice)
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6     cbenson@paulweiss.com
7     Stephen E. Taylor (SBN 058452)
      Jonathan A. Patchen (SBN 237346)
8     TAYLOR & COMPANY LAW OFFICES, LLP
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9     San Francisco, California 94111
      Telephone: (415) 788-8200
10    Facsimile: (415) 788-8208
      Email: staylor@tcolaw.com
11    Email: jpatchen@tcolaw.com
12
      Attorneys for Plaintiffs Sharp Electronics Corporation
13    and Sharp Electronics Manufacturing Company of
      America, Inc.
14
      [Additional Counsel Listed on Signature Page]
15
                                  UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17

18                                     SAN FRANCISCO DIVISION

19
                                                           Case No. 07-cv-05944 SC
20    In re: CATHODE RAY TUBE (CRT)                        MDL No. 1917
      ANTITRUST LITIGATION                                 AMENDED DEPOSITION NOTICE
21
      This Document Relates to:                            OF DIDIER TRUTT
22    ALL ACTIONS
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      AMENDED DEPOSITION NOTICE OF DIDIER TRUTT
      Case No. 07-cv-05944 SC; MDL No. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 39 of 43




1                    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

2                    PLEASE TAKE NOTICE that, pursuant to Rules 28, 30 and 45 of the Federal

3     Rules of Civil Procedure, the Direct Action Plaintiffs and the Direct Purchaser Plaintiffs

4     (collectively “Plaintiffs”) will take the deposition of DIDIER TRUTT. The deposition will

5     occur at a date and time and location to be determined upon consultation with counsel for

6     Thomson SA. The deposition shall continue from day to day (including weekends) until

7     recessed or completed.

8                    The deposition will be taken before a notary public or other person authorized to

9     administer oaths under applicable law, and will be conducted pursuant to Rules 30 and 45 of the

10    Federal Rules of Civil Procedure. Plaintiffs intend and reserve the right to record the deposition

11    testimony of the above-identified deponent by videotape and instant visual display, in addition to

12    recording the testimony stenographically and by LiveNote/realtime. Plaintiffs reserve the right

13    to use the videotape deposition at time of trial.

14

15     Dated: August 28, 2014                     Respectfully Submitted,
16                                                /s/ Craig A. Benson
17
                                                  Kenneth A. Gallo (pro hac vice)
18                                                Joseph J. Simons (pro hac vice)
                                                  Craig A. Benson (pro hac vice)
19                                                PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
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25                                                and Sharp Electronics Manufacturing Company of
                                                  America, Inc.
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27                                                R. Alexander Saveri (173102)
                                                  Geoffrey C. Rushing (126910)
28
                                                  Travis L. Manfredi (281779)
                                                    -2-
      AMENDED DEPOSITION NOTICE OF DIDIER TRUTT
      Case No. 07-cv-05944 SC; MDL No. 1917
     Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 40 of 43




1                                                 SAVERI & SAVERI, INC.
                                                  706 Sansome Street
2                                                 San Francisco, CA 94111
3                                                 Telephone: 415.217.6810
                                                  Fax: 415.217.6813
4
                                                  Interim Lead Counsel for the Direct Purchaser
5                                                 Plaintiffs
6                                                 Philip J. Iovieno
7                                                 Anne M. Nardacci
                                                  BOIES, SCHILLER & FLEXNER LLP
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                                                  Albany, NY 12207
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11                                                anardacci@bsfllp.com
                                                  Liaison Counsel for the Direct Action Plaintiffs
12

13
                                         E-FILING ATTESTATION
14
             I, Craig A. Benson, am the ECF user whose ID and password are being used to file the
15
      Amended Deposition Notice of Didier Trutt. In compliance with Civil Local Rule 5-1(i)(3), I
16
      hereby attest that each listed counsel above has concurred in this filing.
17
      Dated: August 28, 2014                               /s/ Craig A. Benson
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                                                             Craig A. Benson
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      AMENDED DEPOSITION NOTICE OF DIDIER TRUTT
      Case No. 07-cv-05944 SC; MDL No. 1917
                  Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 41 of 43
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________  DistrictofofCalifornia
                                                                                __________

          SHARP ELECTRONICS CORP., et al.                                      )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No. 07-cv-05944-SC, MDL No. 1917
                      HITACHI LTD., et al.                                     )
                              Defendant                                        )

                                              SUBPOENA TO APPEAR AND TESTIFY
                                           AT A HEARING OR TRIAL IN A CIVIL ACTION

To: DIDIER TRUTT

                                                       (Name of person to whom this subpoena is directed)

         YOU ARE COMMANDED to appear in the United States district court at the time, date, and place set forth below
to testify at a hearing or trial in this civil action. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.



Place: PLACE, DATE, AND TIME TO BE DETERMINED                                               Courtroom No.:
         UPON CONSULTATION WITH COUNSEL.
                                                                                            Date and Time:

          You must also bring with you the following documents, electronically stored information, or objects (leave blank if
not applicable):
                   THIS IS A SUBPOENA FOR ORAL EXAMINATION ONLY.




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                               OR


                                            Signature of Clerk or Deputy Clerk                               Attorney’s signature



The name, address, e-mail address, and telephone number of the attorney representing (name of party)                            SHARP
    ELECTRONICS CORPORATION, ET AL.                              , who issues or requests this subpoena, are:
CRAIG A. BENSON, PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP, 2001 K STREET NW, WASHINGTON,
DC 20006-1047; CBENSON@PAULWEISS.COM; 202-223-7300

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 42 of 43
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 2)

Civil Action No. 07-cv-05944-SC, MDL No. 1917

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                                 .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                            ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                               .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                  for travel and $                                 for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                       Server’s signature



                                                                                                     Printed name and title




                                                                                                        Server’s address

Additional information regarding attempted service, etc.:
                   Case 4:07-cv-05944-JST Document 2776-1 Filed 08/28/14 Page 43 of 43
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where            until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
